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1                               UNITED STATES DISTRICT COURT
2                                  DISTRICT OF PUERTO RICO

3    ORLANDO MALPICA-GARCÍA,

4           Petitioner,
                                                       Civil No. 08-2055 (JAF)
5           v.                                         (Crim. No. 03-081)

6    UNITED STATES OF AMERICA,

7           Respondent.



8                                     OPINION AND ORDER

9           On September 17, 2008, Petitioner Orlando Malpica-García brought

10   this petition for relief from a federal court conviction pursuant to

11   28 U.S.C. § 2255. (Docket No. 1.) Respondent, the United States of

12   America, opposed on November 28, 2008 (Docket No. 9), and Petitioner

13   replied and moved for an evidentiary hearing on March 9, 2009 (Docket

14   Nos.   10,   11,    12).    On   May   26,    2009,    we   granted      Petitioner   an

15   evidentiary hearing on the issue of whether Petitioner’s counsel was

16   ineffective for failing to inform Petitioner of available plea offers

17   and his potential sentencing exposure at trial. (Docket Nos. 17, 18.)

18   We held the hearing on August 5, 2009. (Docket No. 25.)

19                                                I.

20                          Factual and Procedural History

21          On March 13, 2003, a federal grand jury indicted Petitioner on

22   four criminal counts. (Case No. 03-081, Docket No. 2.) The court

23   appointed    Juan    Álvarez      Cobián      (“Álvarez”)      as    his   attorney   on

24   March 21, 2003.      (Case No. 03-081, Docket No. 57.) On July 17, 2003,
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1    a    federal    grand    jury    issued    a    superseding       indictment      charging

2    Petitioner      and   twenty-six      other     individuals       with    conspiracy      to

3    possess controlled substances with intent to distribute; conspiracy

4    to use, carry, or possess a firearm; and possession of a firearm near

5    a school zone. (Case No. 03-081, Docket No. 149.) On May 21, 2004,

6    Álvarez sent Petitioner a letter stating that he had received a plea

7    offer of fifteen years, which Álvarez had rejected, and that a

8    counteroffer of twelve years had been discussed. (Docket No. 1,

9    Ex. C.)

10           On June 30, 2004, Petitioner moved to change his attorney,

11   alleging that Álvarez had not sufficiently discussed the case with

12   him     or   provided    discovery       materials.    (Case      No.    03-081,    Docket

13   No. 533.) The court held a change-of-attorney hearing on July 15,

14   2004, to consider these issues. (Case No. 03-081, Docket No. 1050.)

15   At the hearing, Álvarez stated that he had received plea offers from

16   the government and that Petitioner had informed him that Petitioner

17   would     not   accept   offers     of    fifteen     or   twelve       years.    (Id.)   In

18   addition, the court discussed Petitioner’s potential sentence. (Id.)

19   The Assistant United States Attorney (“AUSA”), Marcos López, stated

20   that if convicted at trial Petitioner faced a minimum of twenty years

21   and a maximum life sentence, based upon his criminal record. (Id.)

22   Petitioner did not offer any response to these statements. (Id.) On

23   July 19, 2004, the court denied the motion for change of attorney.

24   (Case No. 03-081, Docket No. 580.)
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1           On July 1, 2005, following a six-day trial, a jury found

2    Petitioner guilty of the two conspiracy counts. (Case No. 03-081,

3    Docket No. 954.) On October 14, 2005, the court sentenced Petitioner

4    to concurrent terms of imprisonment of 385 months and 240 months, and

5    five years of supervised release. (Case No. 03-081, Docket No. 1017.)

6    Petitioner appealed, and on June 6, 2007, the First Circuit affirmed

7    his sentence. United States v. Malpica-García, 489 F.3d 393 (1st Cir.

8    2007). The Supreme Court denied certiorari on October 1, 2007.

9    United States v. Malpica-García, 128 S. Ct. 316 (2007).

10          Petitioner moved for § 2255 relief on September 17, 2008,

11   arguing that he received ineffective assistance of counsel. (Docket

12   No. 1.) In particular, Petitioner asserted that his trial counsel had

13   not informed him of his potential sentencing exposure at trial and

14   had not communicated available plea offers to him. (Id.) On May 26,

15   2007, we granted Petitioner an evidentiary hearing to determine the

16   facts surrounding these issues and appointed an attorney to represent

17   him at the hearing. (Docket Nos. 17, 18.) We held the hearing on

18   August 5, 2009. (Docket No. 25.)

19          At the hearing, Álvarez testified that from the beginning of the

20   representation, he explained to Petitioner his potential sentencing

21   exposure   if   he   proceeded      to   trial.   This   included     a      statutory

22   mandatory minimum of twenty years, based on his criminal record and

23   drug    convictions,      and   a   maximum    potential       sentence      of   life

24   imprisonment. Álvarez testified that he also explained the range of
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1    sentencing alternatives to Petitioner, and that Petitioner understood

2    his various options. Álvarez stated that Petitioner told him that he

3    would not plead to more than ten years, and that because Petitioner

4    felt Álvarez could not get him ten years or less, he sought to have

5    Álvarez withdraw as his attorney. Petitioner wished to pursue a

6    defense strategy that would frame him as an addict, rather than a

7    trafficker. Álvarez believed the evidence would not support this

8    theory.

9         Álvarez further testified about the several plea offers made

10   prior to trial. Petitioner rejected the first plea offer of twenty

11   years. AUSA Irene Feldman and Álvarez informally discussed a fifteen-

12   year plea offer, and Álvarez informed her that it was too high and

13   that Petitioner would not accept it. Álvarez testified that he

14   informally countered with twelve years, subject to Petitioner’s

15   approval. Álvarez sent Petitioner a letter to this effect (Docket

16   No. 1, Ex. C.); however, Petitioner refused to accept either a

17   fifteen- or twelve-year plea. As trial approached, AUSA López assumed

18   the case and made Petitioner a plea offer of sixteen years, which

19   Petitioner rejected. AUSA López said that the offer remained on the

20   table when trial began in July 2005. Petitioner tried his case on the

21   theory that he was an addict, not a trafficker; the jury convicted

22   him on the drug and firearms conspiracy counts.

23        Petitioner testified at the hearing that he would have accepted

24   the fifteen or twelve-year offers had he known of them. He testified
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1    that it is not true that he would have only accepted ten years.

2    Petitioner claims he was never told about his sentencing exposure

3    under the Sentencing Guidelines.

4                                        II.

5                  Standard for Relief Under 28 U.S.C. § 2255

6          A federal district court has jurisdiction to entertain a § 2255

7    petition when the petitioner is in custody under the sentence of a

8    federal court. See 28 U.S.C. § 2255. A federal prisoner may challenge

9    his or her sentence on the grounds that, inter alia, it “was imposed

10   in violation of the Constitution or laws of the United States.” Id.

11   Should a court find such an error, it “shall vacate and set the

12   judgment aside and shall discharge the prisoner or resentence him or

13   grant a new trial or correct the sentence as may appear appropriate.”

14   Id.

15                                       III.

16                                    Analysis

17         Petitioner   asserts   that   his    sentence    was     unconstitutional

18   because he received ineffective assistance from his trial counsel

19   during plea bargaining. (Docket No. 1.) Specifically, Petitioner

20   alleges that his counsel failed to inform him of the maximum sentence

21   he faced if convicted at trial, failed to advise him regarding the

22   desirability of accepting a plea offer rather than facing trial, and

23   failed to communicate plea offers. (Id.)
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1         To establish ineffective assistance of counsel, a petitioner

2    must show both that his counsel’s performance was deficient and that

3    he suffered prejudice as a result of the deficiency. Strickland v.

4    Washington,   466   U.S.     668,   686-96    (1984).       To    show     deficient

5    performance, a petitioner must “establish that counsel was not acting

6    within the broad norms of professional competence.”               Owens v. United

7    States, 483 F.3d 48, 57 (1st Cir. 2007) (citing Strickland, 466 U.S.

8    at 687-91). To show prejudice, a petitioner must demonstrate that

9    “there   is   a   reasonable    probability     that,       but   for      counsel’s

10   unprofessional error, the result of the proceedings would have been

11   different.” Strickland, 466 U.S. at 694.

12        “[T]he decision whether to plead guilty or contest a criminal

13   charge is ordinarily the most important single decision in a criminal

14   case . . . .” United States v. Gordon, 156 F.3d 376, 380 (2d Cir.

15   1998) (quoting Boria v. Keane, 99 F.3d 492, 496-97 (2d Cir. 1996))

16   (internal quotation marks omitted). A defense attorney has a duty to

17   fully advise his or her client regarding whether a plea offer is

18   desirable. See United States v. González-Vázquez, 219 F.3d 37, 41

19   (1st Cir. 2000) (quoting Boria, 99 F.3d at 496). “Knowledge of the

20   comparative sentence exposure between standing trial and accepting a

21   plea offer will often be crucial to the decision whether to plead

22   guilty.” United States v. Day, 969 F.2d 39, 43 (3d Cir. 1992). An

23   attorney’s failure to communicate a plea offer altogether may also

24   constitute ineffective assistance. See United States v. Rodríguez
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1    Rodríguez, 929 F.2d 747, 753 (1st Cir. 1991); see also González-

2    Vázquez, 219 F.3d at 41 (quoting Boria, 99 F.3d at 496-97).

3         After considering testimony from Álvarez and Petitioner at the

4    hearing,     we   are   satisfied      that     Petitioner       received       effective

5    assistance from Álvarez during plea bargaining. Álvarez testified

6    that he explained Petitioner’s maximum sentence exposure to him and

7    that Petitioner understood. He further testified that Petitioner

8    informed him on multiple occasions that he would not accept a plea

9    offer for more than ten years. Álvarez explained that he rejected the

10   informal fifteen-year offer based on Petitioner’s wishes, and that,

11   when he discussed the possibility of fifteen- or twelve-year offers,

12   Petitioner specifically rejected them.

13        Álvarez’ testimony is bolstered by the transcript of the change-

14   of-attorney hearing held on July 15, 2004, where, in Petitioner’s

15   presence, the attorneys discussed Petitioner’s maximum potential

16   sentence and the various plea offers that Petitioner had rejected.

17   Petitioner voiced no objection or surprise to these statements. We

18   find Álvarez to be credible because he is an experienced, serious

19   attorney with many years of experience handling criminal cases in the

20   Federal Public Defender’s office and in private practice.

21        Petitioner’s testimony, that Álvarez did not tell him that he

22   would   be    exposed     to     a   possible    life    sentence,       explain      the

23   desirability of pleading guilty, or inform him of the fifteen-year

24   plea offer, is not believable in light of the evidence. Rather,
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1    Petitioner’s self-serving testimony appears to be an attempt to

2    obtain a sentence reduction to what he would have obtained had he

3    pled guilty when he had the opportunity.

4         We find that Álvarez rendered effective assistance during plea

5    bargaining, because the evidence shows that he informed Petitioner of

6    his potential sentence exposure at trial, explained to Petitioner the

7    desirability of pleading guilty, communicated the fifteen-year plea

8    offer to Petitioner, and sought a lower offer. Petitioner rejected

9    both potential offers and chose to proceed to trial. Accordingly,

10   § 2255 relief is not warranted.

11                                       IV.

12                                   Conclusion

13        For the foregoing reasons, we hereby DENY Petitioner’s motion

14   for § 2255 relief (Docket No. 12).

15        IT IS SO ORDERED.

16        San Juan, Puerto Rico, this 13th day of August, 2009.

17                                             S/José Antonio Fusté
18                                             JOSE ANTONIO FUSTE
19                                             Chief U.S. District Judge
